                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )      NO. 3:12-00206
                                                     )      JUDGE CAMPBELL
CURTIS TATE                                          )

                                             ORDER

         Pending before the Court is an Unopposed Motion to Continue Revocation Hearing

(Docket No. 356) currently scheduled for May 22, 2015. The Motion is GRANTED.

         The hearing on the Petition (Docket No. 347) alleging violations of Defendant’s

Conditions of Supervision is CONTINUED to July 20, 2015, at 2:30 p.m.

         It is so ORDERED.



                                                     _________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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